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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

    UNITED STATES,                                   §
                                                     §
                   Plaintiff,                        §
                                                     §
    V.                                               §   CR-04-385
                                                     §
    ALI AL-TIMIMI                                    §
                                                     §
                   Defendant.                        §

                                     NOTICE OF APPEAL

         Notice is hereby given that Dr. Ali al-Timimi, Defendant in the above named case,

hereby appeals to the United States Court of Appeals for the Fourth Circuit from the Order

entered in this action on the 21st day of May, 2014. (Dkt. No. 357).1 That Order, which denied

defendant’s pending motions and resolved the outstanding issues in this remand, constitutes a

final order.

          Notice is also hereby given that Dr. al-Timimi appeals to the United States Court of

Appeals for the Fourth Circuit from this Court’s July 13, 2005 post-trial judgment. (Dkt. No.

132). Dr. al-Timimi incorporates by reference his original Notice of Appeal (Dkt No. 133), filed

on July 15, 2005, which appealed that July 13, 2005 judgment. In its April 25, 2006 order

remanding this case before this Court, the Court of Appeals for the Fourth Circuit stated that

“following a final order by the district court, appellant may timely file without prejudice a new

notice of appeal with this Court.” (Ex. A).




1
  In its May 21, 2014 order, the District Court denied all pending motions and further denied
Defendant’s request for a status hearing. The District Court previously indicated that it would
not welcome additional motions and that it intended to resolve all outstanding issues and send
the case back to the Fourth Circuit. Hearing Transcript of 10/4/2013 at 29:13-30:11.
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                                              Respectfully submitted,

                                              Ali al-Timimi
                                              By Counsel


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Dated: June 4, 2014
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                               CERTIFICATE OF SERVICE


       I certify that this Notice of Appeal was caused by me to be served via the Court’s ECF

system, on the 4th day of June, 2014, which will then send a notification of such filing (NEF) to

the following:

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